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                                   7                                      UNITED STATES DISTRICT COURT

                                   8                                     NORTHERN DISTRICT OF CALIFORNIA

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                                  10     DEXTER LAWRENCE GRIFFIN,                            Case No. 21-cv-07662-SVK
                                  11                        Plaintiff,
                                                                                             ORDER OF TRANSFER
                                  12                v.
Northern District of California
 United States District Court




                                  13     BRANDON PRICE, et al.
                                  14                        Defendants.

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                                  16            Plaintiff’s federal civil rights complaint concerns events that occurred at Coalinga State

                                  17   Hospital in Coalinga, California. Coalinga lies in the Eastern District of California. Accordingly,

                                  18   this action is TRANSFERRED to the Eastern District wherein venue properly lies because a

                                  19   substantial part of the events or omissions giving rise to the claims occurred there, and that is

                                  20   where Defendants reside. See 28 U.S.C. §§ 84(b), 1391(b), and 1406(a). The Clerk shall

                                  21   terminate all pending motions and transfer this action forthwith.

                                  22            IT IS SO ORDERED.

                                  23   Dated: October 12, 2021

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                                                                                                     SUSAN VAN KEULEN
                                  25                                                                 United States Magistrate Judge
                                  26
                                  27   Case No. 20-3517 SVK (PR)
                                       ORDER OF TRANSFER
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